      CASE 0:10-cr-00288-PAM-DTS         Doc. 487     Filed 12/05/11    Page 1 of 1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                       Criminal No. 10-288 (6) (RHK/JSM)

                      Plaintiff,                ORDER SEALING DOCUMENT

vs.

Kevin Julian Straw,

                      Defendant.


Julie Allyn, Assistant United States Attorney, United States Attorney’s Office, Counsel
for the Plaintiff.

F. Clayton Tyler, F. Clayton Tyler, PA, Counsel for the Defendant.
______________________________________________________________________________


      This matter is before the Court on the Defendant’s Motion to Seal Document

(Doc. No. 482).

      For good cause shown, the Motion (Doc. No. 482) is GRANTED and the Clerk’s

Office is hereby ORDERED to file under seal the position paper.

Dated: December 5, 2011

                                         s/Richard H. Kyle
                                         RICHARD H. KYLE
                                         United States District Judge
